              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       CHARLOTTE DIVISION

                         Civil Case No. 3:09cv551
                       [Criminal Case No. 3:08cr10]



ROSWELL BOWMAN,                  )
                                 )
         Petitioner,             )
                                 )
               v.                )                     ORDER
                                 )
UNITED STATES OF AMERICA,        )
                                 )
         Respondent.             )
________________________________)


      THIS MATTER is before the Court on the Petitioner’s Motion under 28

U.S.C. §2255 to Vacate, Set Aside, or Correct Sentence by a Person in

Federal Custody [Doc. 1].



                         PROCEDURAL HISTORY

      On January 23, 2008, the Petitioner was charged with conspiracy to

possess with intent to distribute 50 grams or more of cocaine base in violation

of 21 U.S.C. §§ 841 and 846; two counts of possession with intent to distribute

cocaine base in violation of 21 U.S.C. § 841; two counts of using and carrying

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a firearm during and in relation to a drug trafficking crime in violation of 18

U.S.C. § 924(c); and two counts of being a felon in possession of a firearm in

violation of 18 U.S.C. § 922(g). United States v. Bowman, [Criminal Case No.

3:08cr10, at Doc. 1]. Two days later, the Government filed an Information

pursuant to 21 U.S.C. § 851 noting that Petitioner had previously been

convicted of a felony drug offense. [Id., at Doc. 4]. As a result, the Petitioner

faced a mandatory minimum sentence of twenty (20) years imprisonment. 21

U.S.C. §841(b)(1)(A).

      On August 11, 2008, the Petitioner entered into a plea agreement with

the Government pursuant to which he agreed to plead guilty to one count of

possession and one §924(c) count in exchange for the Government’s

agreement to dismiss the other counts. [Id., Doc. 40, at 1].           The plea

agreement also contained a waiver provision pursuant to which the Petitioner

waived any right to direct appeal or collateral attack except on the grounds of

ineffective assistance of counsel and prosecutorial misconduct. [Id., Doc. 40,

at 4-5]. On August 15, 2008, the Petitioner attended a Rule 11 hearing and

entered his guilty pleas. [Id., at Doc. 43]. In the course of that hearing, the

Petitioner acknowledged that his guilty pleas were knowing and voluntary and

that he was waiving his right to contest his conviction and sentence pursuant



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to §2255. [Id.].

      On January 15, 2009, after granting the Government’s motion for

downward departure based on substantial assistance, the undersigned

sentenced the Petitioner to 87 months imprisonment on Count One and 60

months consecutive imprisonment on Count Two. [Id., at Doc. 53]. The

Petitioner did not appeal his conviction or sentence.

      On December 30, 2009, the Petitioner timely filed this motion in which

he claims that the one hundred to one sentencing ratio for cocaine powder

and cocaine base violated his constitutional rights.



                          STANDARD OF REVIEW

      A prisoner in custody under sentence of a [federal] court ...
      claiming the right to be released upon the ground that the
      sentence was imposed in violation of the Constitution or laws of
      the United States, or that the court was without jurisdiction to
      impose such sentence, or that the sentence was in excess of the
      maximum authorized by law, or is otherwise subject to collateral
      attack, may move the court which imposed the sentence to
      vacate, set aside or correct the sentence.

28 U.S.C. §2255(a).

      The Rules Governing Section 2255 Proceedings for the United States

District Courts provide in pertinent part:

      The judge who receives the [§2255] motion must promptly

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      examine it. If it plainly appears from the motion, any attached
      exhibits, and the record of prior proceedings that the moving party
      is not entitled to relief, the judge must dismiss the motion[.]

Rule 4(b).



                                DISCUSSION

      As noted, the Petitioner’s plea agreement contains an explicit waiver of

the Petitioner’s right to challenge his sentence or conviction in appellate or

post-conviction motions except for claims of ineffective assistance of counsel

or prosecutorial misconduct. At his Rule 11 hearing, the Petitioner swore

under oath that he understood he was waiving his right to challenge his

sentence or conviction in a post-conviction proceeding, except for those two

grounds. “[A] defendant’s solemn declarations in open court affirming [a plea]

agreement ... ‘carry a strong presumption of verity,’” because courts must be

able to rely on the defendant’s statements made under oath during a properly

conducted rule 11 plea colloquy.” United States v. White, 366 F.3d 291, 295

(4 th Cir. 2004) (citations omitted). Representations made by a defendant at

a Rule 11 hearing, as well as the findings made by the judge therein,

constitute a formidable barrier in a subsequent collateral attack. Blackledge

v. Allison, 431 U.S. 63, 73-74, 97 S.Ct. 1621, 52 L.Ed.2d 136 (1977); United



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States v. DeFusco, 949 F.2d 114, 119 (4 th Cir. 1991), certiorari denied 503

U.S. 997, 112 S.Ct. 1703, 118 L.Ed.2d 412 (1992) (“[Petitioner] stated during

the Rule 11 colloquy that he had not been coerced or threatened into pleading

guilty.”   Such statements “constitute a ‘formidable barrier’ to collateral

proceedings to vacate the plea.”); accord, United States v. Lambey, 974 F.2d

1389, 1394-95 (4 th Cir. 1992), certiorari denied 513 U.S. 1060, 115 S.Ct. 672,

130 L.Ed.2d 605 (1994); United States v. Land, 60 Fed.Appx. 963 (4 th Cir.

2003), certiorari denied 540 U.S., 124 S.Ct. 859, 157 L.Ed.2d 731 (2003).

       Moreover, “a criminal defendant may waive his right to attack his

conviction and sentence collaterally, so long as the waiver is knowing and

voluntary.” United States v. Lemaster, 403 F.3d 216, 220 (4 th Cir. 2005);

accord, United States v. Johnson, 410 F.3d 137, 151-53 (4 th Cir. 2005),

certiorari denied 546 U.S. 952, 126 S.Ct. 461, 163 L.Ed.2d 350 (2005)

(upholding defendant’s knowing and voluntary waiver of appellate rights).

Having reviewed the record, the Court finds that the Petitioner knowingly and

voluntarily entered into his plea agreement and understood that he was

waiving his right to attack his conviction and sentence pursuant to §2255,

except as to ineffective assistance of counsel and prosecutorial misconduct.

The claims raised by Petitioner in this motion do not fall within those two



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exceptions. The Court finds that the agreement’s waiver provision is valid and

fully enforceable, and that it stands as an absolute bar to Petitioner’s attempts

to challenge his sentence on the grounds raised in this motion. Lemaster, 403

F.3d at 221-22; United States v. Morgan, 284 Fed.Appx. 79 (4 th Cir. 2008).

      Having considered the Petitioner’s motion, any attached exhibits, and

the record of the prior proceedings, the Court finds that the Petitioner is not

entitled to relief and the motion must be dismissed. The Court further finds

that the Petitioner has not made a substantial showing of the denial of a

constitutional right. 28 U.S.C. § 2253(c)(2); Miller -El v. Cockrell, 537 U.S.

322, 336-38, 123 S.Ct. 1029, 154 L.Ed.2d 931 (2003) (in order to satisfy §

2253(c), a petitioner must demonstrate that reasonable jurists would find the

district court’s assessment of the constitutional claims debatable or wrong)

(citations omitted). As a result, the Court declines to issue a certificate of

appealability. Rule 11(a), Rules Governing Section 2255 Proceedings for the

United States District Courts.




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                                  ORDER

      IT IS, THEREFORE, ORDERED that the Petitioner’s Motion under 28

U.S.C. §2255 to Vacate, Set Aside, or Correct Sentence by a Person in

Federal Custody [Doc. 1] is hereby DENIED and this action is dismissed.

      IT IS FURTHER ORDERED that the Court declines to issue a certificate

of appealability.



                                      Signed: July 13, 2010




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